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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                              )
GEORGE WEBB SWEIGERT,         )
                              )
            Plaintiff,        )
                              )
      v.                      )                Civil Action No. 1:17-cv-02223 (RC)
                              )
TOM PEREZ, et al.,            )
                              )
            Defendants.       )
_____________________________ )

                                      MOTION TO DISMISS

       Pursuant to Federal Rule of Civil Procedure 12(b)(1), (b)(5), (b)(6), (f), and Local Civil

Rule 23.1(b), Defendant Deborah Wasserman Schultz respectfully moves to dismiss Plaintiff’s

Complaint, or, in the alternative, to strike the class allegations. The dismissal of Plaintiff’s

Complaint should be with prejudice and without leave to amend. A proposed Order is attached.

                   MEMORANDUM OF POINTS AND AUTHORITIES

       For all of the reasons stated in the Defendant’s Memorandum of Points and Authorities in

Support of Motion to Dismiss Plaintiff’s Complaint filed by Defendants DNC Services Corp.

d/b/a the Democratic National Committee and Chair Tom Perez (Dec. 19, 2017) (ECF No. 19),

this Court should grant this Motion to Dismiss of Congresswoman Wasserman Schultz (and

thereby dismiss Plaintiff’s Complaint as against the Congresswoman, or, in the alternative, strike

the class allegations in Plaintiff’s Complaint).

       Alternatively and independently, this Court also should dismiss Plaintiff’s Complaint as

against Congresswoman Wasserman Schultz for improper service of process. See Fed. R. Civ. P.

12(b)(5) (“[A] party may assert the following defenses by motion: . . . insufficient service of

process . . . .”). The federal rules permit service on an individual within a federal judicial district


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either in accordance with the law “for serving a summons in an action brought in courts of

general jurisdiction in the state where the district court is located or where service is made,” Fed.

R. Civ. P. 4(e)(1), or by service of a copy of the summons and the complaint to the individual

personally, by leaving a copy at the individual’s dwelling or usual place of abode, or by

“delivering a copy of each to an agent authorized by appointment or by law to receive service of

process,” id. 4(e)(2). The law of the District of Columbia—the jurisdiction where the service

was attempted and where this Court is located—permits service in the same manner as identified

in Federal Rule 4(e)(2); i.e., by delivering a copy of the summons and complaint “to the

individual personally or by leaving copies thereof at an individual’s dwelling house or usual

place of abode with persons of suitable age and discretion then residing therein or by delivering a

copy of the summons [and] complaint . . . to an agent authorized by appointment or by law to

receive service of process.” D.C. Super. Ct. R. Civ. P. 4(e)(2).

       Here, Plaintiff’s Complaint was hand-delivered on October 27, 2017, to Michael

Viggiano at 1114 Longworth Office Building, Washington, D.C. 20515. See Decl. of Michael

Viggiano ¶ 3 (Dec. 19, 2017), attached as Ex. 1. Mr. Viggiano is an employee of

Congresswoman Wasserman Schultz’s official congressional office. See id. ¶ 2. Mr. Viggiano

never has been authorized to receive service of process on behalf of Congresswoman Wasserman

Schultz. See id. ¶ 4.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff’s Complaint as against Congresswoman Wasserman

Schultz should be dismissed in its entirety with prejudice and without leave to amend.




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Dated: December 19, 2017          Respectfully submitted,

                                   By /s/ William Pittard

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                                   Attorneys for Defendant
                                   Deborah Wasserman Schultz




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of December 2017, I filed the foregoing with the

Clerk of the United States District Court for the District of Columbia by using the CM/ECF

system, which system I understand has provided electronic notice to all counsel of record, and I

have served the following individual by certified U.S. mail:


       George Webb Sweigert
       Country Inn
       8850 Hampton Mall Drive N.
       Capitol Heights, MD 20743


Dated: December 19, 2017                            /s/ William Pittard
                                                    William Pittard
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                  EXHIBIT 1
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                              )
TOM PEREZ, et al.,            )
                              )
            Defendants.       )
_____________________________ )

                                   [PROPOSED] ORDER

       IT IS HEREBY ORDERED THAT the December 19, 2017 Motion to Dismiss filed by

Defendant Deborah Wasserman Schultz is hereby GRANTED; and it is further ordered that

Plaintiff’s Complaint as against Defendant Deborah Wasserman Schultz shall be, and is,

dismissed with prejudice and without leave to amend.


       SO ORDERED.


Date:_____________                                 ___________________________
                                                   RUDOLPH CONTRERAS,
                                                   United States District Judge
